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                                                                April 3, 2025


           VIA ECF

           Patricia Dodszuweit, Clerk
           United States Court of Appeals
            for the Third Circuit
           James A. Byrne United States Courthouse
           601 Market Street
           Philadelphia, Pennsylvania 19106

                    Re:       Atlas Data Privacy Corp, et al. v. First Direct Inc., No. 25-8013
                              Atlas Data Privacy Corp, et al. v. Greenflight Venture Corp, No. 25-8014

           Dear Ms. Dodszuweit:

                  We represent Plaintiffs-Appellees in the above referenced proceedings. Plaintiffs-
           Appellees do not oppose leave to appeal in those matters, provided that the appeals are
           consolidated with the appeal currently pending in the consolidated appeal, Case 25-1555 and
           proceed in accordance with the schedule of that consolidated appeal.

                                                                Respectfully submitted,

                                                                PEM LAW LLP

                                                                 s/ Rajiv D. Parikh
                                                                RAJIV D. PARIKH
           RDP:dmc




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